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11                              UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                   SAN FRANCISCO DIVISION

14
       UNITED STATES OF AMERICA,                     Case No. 3:20-cr-00337-WHO
15
                            Plaintiff,
16                                                   DEFENDANT JOSEPH SULLIVAN’S
                       v.
17                                                   OPPOSITION TO UBER’S MOTION TO
       JOSEPH SULLIVAN,                              QUASH RULE 17(C) SUBPOENA
18
                            Defendant.
19
                                                     Date: February 3, 2022
20                                                   Time: 1:30 p.m.
21                                                   Crtrm: 2, 17th floor

22                                                   Hon. William H. Orrick

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 1            Defendant Joseph Sullivan respectfully submits this opposition to Uber’s motion to quash
 2   his Rule 17(c) subpoena duces tecum (ECF No. 68) (“MTQ”). Having selectively disclosed
 3   attorney-client privileged materials to the government in a thus-far successful effort to scapegoat
 4   Sullivan for conduct known and approved at the highest level of the company and within its
 5   Legal department, Uber now seeks to withhold from Sullivan documents essential to his defense.
 6   The Court should review the documents at issue in camera to the extent it deems necessary and
 7   then deny Uber’s motion to quash.
 8                                           INTRODUCTION

 9            The intial indictment (ECF No. 13) alleged that Sullivan, Uber’s former Chief Security
10   Officer, sought to conceal a November 2016 cyber-security incident (the “2016 Incident”) from
11   the FTC (Count 1)1 and from “some judge or other person in civil or military authority under the
12   United States” (Count 2).2 The Superseding Indictment (ECF No. 71) adds three wire fraud
13   counts, based on the theory that Sullivan somehow sought to defraud persons who drove for
14   Uber.3 Sullivan has been charged with those offenses even though the 2016 Incident was
15   indisputably contemporaneously disclosed to (among others) Uber’s then-Chief Executive
16   Officer, at least two members of Uber’s Legal department (including the head of Privacy within
17   that department), a member of Uber’s Communications team, and numerous individuals within
18   Uber’s Security department.
19            Just two weeks after Uber fired and publicly blamed Sullivan for the 2016 Incident, the
20   company’s lawyers sat down with representatives of the FBI and the U.S. Attorney’s Office.
21   During that meeting—and in correspondence and meetings that followed—Uber’s counsel
22   selectively disclosed portions of the company’s internal investigation and provided the
23   government with carefully chosen and selectively redacted documents. Perhaps unsurprisingly—
24   1
         An alleged violation of 18 U.S.C. § 1505.
25   2
      An alleged violation of 18 U.S.C. § 4, alleging concealment of violations of various subsections
     of 18 U.S.C. § 1030.
26   3
      The newly added wire fraud counts have significant legal defects, which we expect to raise in a
27   motion to dismiss.
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 1   Uber was then the target of a separate criminal investigation being conducted by the same U.S.
 2   Attorney’s Office—Uber’s narrative sought to paint the company’s current management as
 3   “change agents” while claiming that Sullivan and Uber’s former CEO, both of whom had
 4   recently been forced out of the company, had “concealed” the 2016 Incident. Uber invoked the
 5   attorney-client privilege and the attorney work-product doctrine to redact and withhold key
 6   documents and other information that would significantly undermine that narrative, which the
 7   government adopted wholesale when charging Sullivan. (See, e.g., Complaint (ECF No. 1) ¶¶ 10,
 8   12, 13, 43.)
 9          Sullivan now seeks to obtain critical portions of the selectively redacted and withheld
10   material. Uber resists on two principal grounds: it contends that Sullivan has not satisfied the
11   standard for Rule 17(c) subpoenas set in United States v. Nixon, 418 U.S. 683 (1974), and it
12   maintains that the documents must be withheld under the attorney-client privilege. As we
13   demonstrate below, Uber is wrong on both points. First, Sullivan’s subpoena seeks relevant and
14   admissible documents and identifies those documents with specificity. It thus satisfies the Nixon
15   standard. Second, Uber has not carried its burden of showing that a number of the documents at
16   issue are privileged, and it has waived any privilege that existed through its selective disclosure
17   of privileged material to the government. Finally, to the extent Uber has established an existing,
18   non-waived privilege, Sullivan’s Fifth and Sixth Amendment right to compel essential evidence
19   for his defense overcomes any remaining interest in confidentiality.
20                                            BACKGROUND

21   I.     The 2016 Incident

22          On November 14, 2016, Sullivan, Uber’s Chief Security Officer, learned via email of a

23   potential data breach by someone purporting to be a “white hat” hacker—an individual who

24   exposes potential cyber security vulnerabilities in exchange for money through entities’ “bug

25   bounty” programs, which are common in the industry. Sullivan immediately began an

26   investigation in accordance with written policies prepared by Uber’s Security and Legal

27   groups—policies which tasked Sullivan’s Security group with investigating the technical aspects
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 1   of data breaches and tasked the Legal department’s “Privacy” attorneys (a group that did not
 2   include Sullivan) with understanding and carrying out Uber’s breach-related legal and reporting
 3   obligations.
 4          Among Sullivan’s first actions was to notify the highest level of Uber management—
 5   Uber’s Chief Executive Officer—of the incident and to seek the assistance of Uber Privacy
 6   attorney             , a member of Uber’s Legal department responsible for advising Sullivan’s
 7   team and others at Uber about the company’s security-related legal responsibilities. From there,
 8   at least two dozen Uber employees from the company’s Security, Legal, and Communications
 9   groups played a variety of roles responding to the 2016 Incident. Those individuals
10   communicated with each other extensively throughout the ensuing investigation.
11          Sullivan’s Security team meticulously documented the incident and Uber’s response in
12   real time. A key document used for this purpose was the Preacher Central Tracker (“PCT”). The
13   PCT was updated regularly, sometimes multiple times per day, and documented the Security
14   team’s efforts to investigate the incident, take steps in response, and memorialize meetings and
15   issues that arose throughout. This document was stored on Uber’s systems and made widely
16   available to the response team.
17          Throughout Uber’s response to the 2016 Incident, Legal’s                 —in furtherance of
18   his twin duties to provide legal advice to Sullivan’s Security team and to assist Legal in
19   understanding and carrying out its reporting obligations—was provided the details about the
20   investigation (indeed, he created the PCT) and was involved in key decisions. Similarly, senior
21   Uber Privacy attorney                 , a former longtime AUSA in this District who regularly
22   interacted with law enforcement while at Uber, was informed of the details of the 2016 Incident
23   within 24 hours of its occurrence.
24          Despite all this, the government contends that Sullivan “withheld knowledge of the
25   breach from others within Uber who were in a position to disclose that information to the FTC”
26   (Compl. ¶ 43) and Uber’s drivers (Superseding Indictment ¶ 10).
27
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     II.    The FTC Investigation
 1
            About a year and a half before the 2016 Incident, in 2015, the FTC had launched an
 2
     investigation into a separate data breach that occurred at Uber in 2014, before Sullivan joined the
 3
     company (the “2014 Incident”). Uber was required to produce documents to the FTC and answer
 4
     interrogatory-style questions. On November 4, 2016 (shortly before the 2016 Incident), Sullivan
 5
     sat for a deposition and provided testimony on behalf of Uber regarding, among other things, the
 6
     remedial security measures Uber had implemented following the 2014 Incident.
 7
            Sullivan was not a Privacy lawyer in Uber’s Legal department, had little interaction with
 8
     the FTC during its investigation apart from the deposition and an earlier presentation, and was
 9
     not responsible for preparing Uber’s responses to the FTC’s inquiries. He was occasionally
10
     consulted about particular issues related to the FTC investigation and was copied on or asked to
11
     review certain of Uber’s submissions to the FTC, typically at or near the submission deadline
12
     after the drafting process was complete. And he instructed members of his team to provide
13
     detailed information to, and meet with, Uber’s in-house and outside attorneys handling the FTC
14
     matter. The government has not alleged that Sullivan ever instructed those individuals to lie to,
15
     or withhold information from, the Uber lawyers handling the FTC investigation.
16
            The government nonetheless alleges that Sullivan concealed the 2016 Incident from the
17
     FTC, which, the government argues, should have been made aware of the incident because the
18
     FTC’s ongoing investigation of the 2014 Incident “focused on data security, data breaches, and
19
     protection of [personal identifying information].” ( Compl. ¶ 13.) Sullivan “concealed” the 2016
20
     Incident, the government contends, principally by failing to disclose it to Uber’s Legal
21
     department as it worked to respond to the FTC’s investigation into the 2014 Incident. (See, e.g.,
22
     Compl. ¶¶ 13, 43; Superseding Indictment ¶ 5.) In the Superseding Indictment, the government
23
     alleges similar omissions and misrepresentations as part of a purported scheme to defraud
24
     persons who drove for Uber. (Superseding Indictment ¶ 10.) The government further contends
25
     that this alleged concealment continued through November 2017, when Uber terminated both
26
     Sullivan            (Compl. ¶¶ 9, 44-47.)
27
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     III.   Uber’s Role in the Criminal Investigation
 1
            Uber played an unusually hands-on role in shaping the criminal investigation that resulted
 2
     in Sullivan’s indictment. Even before its November 21, 2017 termination of Sullivan, Uber fed a
 3
     carefully crafted narrative to the New York Times, Bloomberg News, and other media outlets.
 4
     Seeking to burnish the image of its new CEO—who had recently taken over after a series of
 5
     embarrassing public revelations about Uber and its culture (unrelated to security or Sullivan’s
 6
     group)—Uber claimed that the 2016 Incident had remained “hidden” until discovered by
 7
     investigators who had been tasked with inquiring into other issues at Uber. The new CEO,
 8
     framing Uber’s disclosure of this supposed revelation as part of what he was calling “Uber 2.0,”
 9
     proclaimed, “We are changing the way we do business, putting integrity at the core of every
10
     decision we make and working hard to earn the trust of our customers.”4
11
            In a contemporaneous document, Uber’s Global Head of Security, Privacy & Engineering
12
     Communications—who had deep knowledge of the 2016 Incident and Mr. Sullivan’s role in it—
13
     called Uber’s narrative “completely false,” characterizing it as a baseless effort to position the
14
     new CEO as a “change agent.” Nevertheless, Uber immediately set to work on pushing that same
15
     narrative with the government.
16
            On December 8, 2017—just two weeks after Sullivan’s termination—Uber’s lawyers met
17
     with representatives of the U.S. Attorney’s Office and the FBI, laid out the company’s narrative,
18
     and walked the government through a binder of documents selected to support that narrative.
19
     Uber’s lawyers were familiar with the Northern District’s U.S. Attorney’s Office; it was revealed
20
     in May 2017 that the office had launched a criminal investigation into certain of Uber’s other
21
     activities, further incentivizing new management to press the “change agent” narrative.5
22

23   4
      As discussed below, the actual reason Uber disclosed the 2016 Incident and terminated Sullivan
24   may have more to do with not wanting to jeopardize its then-pending $7 billion transaction with
     SoftBank.
25   5
       See Dan Levine & Joseph Menn, Uber Faces Criminal Probe Over Software Used to Evade
26   Authorities, Reuters, May 4, 2017, https://www.reuters.com/article/us-uber-tech-crime-
     exclusive/exclusive-uber-faces-criminal-probe-over-software-used-to-evade-authorities-
27   idUSKBN1802U.
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 1          On September 28, 2018, Uber’s lawyers returned to present a 58-slide PowerPoint to the
 2   government, again supported by selectively chosen, heavily redacted documents (which were
 3   apparently collected in a large binder that counsel provided to the government that day). The
 4   presentation disclosed the names of the individuals who were interviewed by the company’s
 5   lawyers, revealed what some of those individuals told counsel during those interviews, and
 6   otherwise detailed the results of what the lawyers had learned and concluded from their internal
 7   investigation.6 As the government continued its own investigation, it permitted Uber’s counsel—
 8   usually multiple lawyers—to attend virtually every FBI interview of current and former Uber
 9   employees (each of whom was undoubtedly aware of the company’s public narrative), even
10   when the employee had his or her personal lawyer present. Uber provided the government with
11   documents in response to numerous grand jury subpoenas, but invoked the attorney-client
12   privilege and work product doctrine as the basis for withholding or redacting (among other
13   things) many key communications between lawyers in Uber’s Legal department and Uber
14   employees (including Sullivan) related to the 2016 Incident. The redactions were so significant
15   that the government conceded in its Complaint that it was unable fully to review a key email
16   (which it cited in support of its concealment theory) because “Uber has asserted the attorney-
17   client privilege over most of the contents.” (Compl. ¶ 39, n.2). In that document, Sullivan is
18   alleged to have provided a false or misleading response to a Legal department inquiry that is
19

20   6
       Despite these disclosures of the details of its 2017 internal investigation to the government,
21   Uber claims that documents related to that investigation are protected by the attorney-client
     privilege and work product doctrine. But given its conduct, Uber has almost certainly waived any
22   privilege. United States v. Reyes, 239 F.R.D. 591, 602 (N.D. Cal. 2006) (holding that “law firms
     waived both the attorney-client privilege and the work-product privilege when they disclosed the
23   substance of their investigative interviews, reports, and conclusions with the government.”). The
     subpoena Uber moves to quash in its current Motion does not seek documents specifically
24
     related to the internal investigation, and we discuss waiver as to the requested documents below.
25   But in light of Uber’s explicit conduct and the government’s most recent allegation that Sullivan
     committed wire fraud, in part, by providing false information to Uber’s lawyers in the 2017
26   internal investigation, Sullivan intends to file a motion with this Court to issue a second
     subpoena for specific documents related to that investigation. Sullivan anticipates the motion
27   will be filed before the hearing on Uber’s Motion.
                                                                               ANGELI LAW GROUP LLC
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     DEF’S OPP. TO UBER MTQ FED. R. CRIM. P. 17 SUBPOENA                              Portland, Oregon 97204
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     3:20-cr-00337-WHO                             6                                Facsimile: (503) 227-0880
             Case 3:20-cr-00337-WHO Document 75 Filed 01/06/22 Page 13 of 38




 1   substantially redacted; the General Counsel’s response to Sullivan is redacted in its entirety:7
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17   (UBER-DATA-00072799.8)

18          To the extent the redacted portions may have been privileged (because they were

19   communications between counsel and a company employee for the purpose of rendering legal

20   advice), so too was Sullivan’s response. But Uber chose only to reveal Sullivan’s statement,

21   while asserting privilege over all or significant portions of the statements of its two lawyers,

22   which may be necessary to provide important context for what Sullivan wrote. Such sword-and-

23   shield tactics are precisely what the doctrine of waiver is intended to guard against.

24          This is not the only such email explicitly referenced in the charging documents where

25   7
           was Uber’s General Counsel.           and       were Privacy lawyers in Uber’s Legal
26   department.
     8
      The emails cited in this opposition are attached, in Bates-number order, to the accompanying
27   Declaration of David H. Angeli.
                                                                                ANGELI LAW GROUP LLC
                                                                            121 S.W. Morrison Street, Suite 400
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 1   Sullivan’s ability to effectively defend himself has been undermined by Uber’s redactions. The
 2   Superseding Indictment alleges that, in a September 25, 2017 email to WilmerHale (the firm
 3   Uber engaged to investigate a number of issues at the company), Sullivan “falsely suggested . . .
 4   that the 2016 Data Breach was not, in fact, a data breach.” (Superseding Indictment ¶ 10.)
 5   Leaving aside that this email says nothing of the sort, nearly all of this exchange—including the
 6   entirety of the actual question to which Sullivan was responding and most of his response—has
 7   been redacted by Uber, making it all but impossible to establish the full context of Sullivan’s
 8   statements at trial:
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                                                                               ANGELI LAW GROUP LLC
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 1          As described below, these are just two among many examples of documents that will be
 2   critical to demonstrating Sullivan’s knowledge and state of mind, but which Uber has selectively
 3   withheld or redacted under the guise of privilege.
 4   IV.    The Documents at Issue

 5          The documents requested in the proposed subpoena are those that Uber either produced
 6   to the government with key redactions or withheld entirely from its grand jury productions,
 7   citing the attorney-client privilege and/or work-product doctrine. Each of the requested
 8   documents generally falls into one or more of the following five subject areas:
 9          •   documents indicating the degree to which       ,       and other members of
                Uber’s Legal department were aware of the 2016 Incident, contrary to the
10              government’s assertions that this information was concealed from Uber’s
                attorneys;
11
            •   documents containing comments or advice from Uber’s attorneys (including
12                    and other members of the Legal department) regarding the 2016
                Incident;
13
            •   documents discussing Uber’s responses to the FTC, including
14              communications between Sullivan and the Legal department regarding the
                FTC investigation, communications regarding the content of Uber’s responses
15              to the FTC, communications showing that others at Uber with knowledge of
                the 2016 Incident were responsible for and/or substantially assisted in
16              preparing Uber’s responses to the FTC, and communications rebutting the
                government’s contention that Sullivan played a significant role in crafting
17              those responses;
18          •   evidence that      and the Legal department, not Sullivan, were responsible
                for deciding whether a given incident was a reportable data breach; and/or
19
            •   documents demonstrating the full extent of what Sullivan and his team stated
20              about the incident to Uber’s management and to internal investigators in 2017
                and/or demonstrating what Uber’s management team knew about the 2016
21              Incident before November 21, 2017.
22
            The subpoena identifies each document by Bates-number as produced by Uber to the
23
     government. In total, the subpoena as narrowed seeks approximately 1179 documents. Some of
24
     those documents are duplicates or earlier versions of certain email “threads.” Nevertheless, out
25
     of an abundance of caution (e.g., because Uber apparently applied different redactions to
26
     multiple versions of the same document), the proposed subpoena seeks this entire set of
27
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 1   documents, including potential duplicates. The actual number of unique documents at issue is
 2   approximately 660.
 3                                              ARGUMENT

 4   I.     Sullivan has satisfied the requirements of Fed. R. Crim. P. 17(c) and Nixon for
            pretrial production of the documents at issue.
 5
            A party seeking pretrial production of documents under Rule 17(c) must show
 6
     “(1) relevancy; (2) admissibility; and (3) specificity.” Nixon, 418 U.S. at 700; see, e.g., United
 7
     States v. Sleugh, 896 F.3d 1007, 1012 (9th Cir. 2018). Sullivan’s subpoena satisfies the Nixon
 8
     standard.
 9
            A.      The documents at issue are relevant.
10
            As outlined above, Sullivan seeks full copies of approximately 1179 documents. Each of
11
     the documents sought is relevant under Nixon because each fits into one or more key subject
12
     matter areas, as explained below. To establish relevance for purposes of Nixon, Sullivan need
13
     only show that the circumstances of the communications and other information in a document,
14
     “taken in their total context, permit a rational inference that at least part of the [document]
15
     relate[s] to the offenses charged in the indictment.” Nixon, 418 U.S. at 700 (discussing relevance
16
     of conversations on tape recordings).
17
                    1.      Documents indicating the degree to which                and other
18                          members of Uber’s Legal department were aware of the breach,
                            contrary to the government’s assertions that Sullivan concealed this
19                          information from Uber’s attorneys

20          Sullivan is charged with engaging in a scheme to withhold and conceal the 2016 Incident

21   from the FTC and to keep knowledge of the 2016 Incident from being discovered by Uber’s

22   Legal department and others within the company who were in a position to disclose that

23   information to the FTC and to Uber drivers. The redacted documents and other evidence

24   demonstrate that         a member of Uber’s Legal department, was fully informed of the 2016

25   Incident and provided legal advice throughout Uber’s response. That evidence further

26   demonstrates that the decision to disclose the breach to law enforcement or the public was

27   discussed multiple times during the response and that ultimately it was            and the Legal
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 1   department’s responsibility to determine (among other things) Uber’s reporting obligations
 2   following the incident. The redacted documents also show that        (who was supervising
 3                , the in-house Uber lawyer with primary responsibility for interacting with the FTC
 4   in connection with its investigation of the 2014 Incident) was advised of the 2016 Incident. Uber
 5   has produced to the government a number of redacted documents directly relevant to the Legal
 6   department’s knowledge of the 2016 Incident, including:
 7          •   an email thread reflecting that     (a central person in both the Legal
                department and Uber’s response to the FTC) was informed both of the 2016
 8              Incident and that       was “leading for legal with the security team” (UBER-
                DATA-00060799);
 9
            •   a 2017 email thread with Uber outside counsel, incoming CEO
10                            , and Senior VP of Communications                    in which
                the group discussed Sullivan’s explanation to                    of the 2016
11              Incident (       who also was aware of the 2016 Incident as it was occurring,
                was a participant in this discussion as well) (e.g., UBER-DATA-00072652);
12              and
13          •   a series of communications including Sullivan,                    (Uber’s
                General Counsel),                  (another in-house Uber lawyer), and
14              WilmerHale attorneys in connection with WilmerHale’s 2017 internal
                investigation into the 2016 Incident, which appear to include discussions
15              regarding why the 2016 Incident was handled in the way it was (including
                whether “legal” was involved in these decisions) (e.g., UBER-DATA-
16              00073599; UBER15_00494039).
17   Documents such as these are plainly relevant to the core issues in the government’s charges
18   against Sullivan.
19                  2.      Documents containing comments or advice from Uber’s attorneys
                            (including       and other members of the Legal department)
20                          regarding the 2016 Incident

21          At least two dozen Uber employees played a variety of roles in Uber’s response to the
22   2016 Incident. The response team’s actions and concerns were documented in the PCT.
23   Although Uber has produced the PCT, important portions of the document are redacted,
24   including real-time legal advice that      provided to Sullivan and the security team. Given that
25   the government has accused Sullivan of concealing the breach from the Legal department, these
26   9
      The subpoena itself refers to this document with the Bates number assigned to it by the
27   government, SEC-DOJ-EPROD-000050980.
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 1   communications are directly relevant to establish that Legal was not only aware of the 2016
 2   Incident, but that it gave legal advice to Sullivan and his team as to how they should respond.
 3   Such advice goes directly to Sullivan’s state of mind and why he may or may not have provided
 4   information about the 2016 Incident to others at Uber, including those who were responding to
 5   the FTC investigation. In addition, the Superseding Indictment charges Sullivan with engaging in
 6   a scheme to ensure that the California drivers did not receive data breach notifications as a result
 7   of the 2016 Incident. While the unredacted portions of the PCT already indicate that Uber’s
 8   decision not to initiate a data breach notification was the result of        legal advice to the
 9   security team, understanding the full extent of          advice is directly relevant to rebut the
10   government’s contention that Sullivan acted with criminal intent.
11                  3.      Documents discussing Uber’s responses to the FTC, including
                            communications between Sullivan and the Legal department
12                          regarding the FTC investigation, communications regarding the
                            content of Uber’s responses to the FTC, communications showing that
13                          others at Uber with knowledge of the 2016 Incident substantially
                            assisted in preparing Uber’s responses to the FTC, and
14                          communications rebutting the government’s contention that Sullivan
                            played a significant role in crafting those responses
15
            The government alleges that Sullivan continued to conceal the 2016 Incident even after it
16
     was resolved, principally by “failing to disclose” it to Uber’s Legal department as Uber worked
17
     to respond to the FTC investigation. For example, the Complaint alleges that Sullivan withheld
18
     information about the 2016 Incident from Uber’s Legal department during the preparation of two
19
     documents submitted to the FTC: (1) supplemental interrogatory responses submitted in
20
     December 2016 (Compl. ¶ 38); and (2) a draft of a letter Uber sent to the FTC in April 2017
21
     requesting that the FTC close its investigation (Compl. ¶¶ 39–44). In fact, Sullivan played an
22
     extremely limited role with respect to both of these documents.10
23
            With respect to the December 2016 interrogatory responses, the contemporaneous,
24

25   10
        For example, Sullivan’s “comments” on the seven-page April 2017 letter—sent 6 minutes after
     he received it—were, in their entirety: “Letter looks ok to me. Thanks.” The draft letter,
26   Sullivan’s response, and the final letter submitted to the FTC nine days letter, are detailed in the
     government’s Complaint, although the email that Sullivan was actually responding to
27   (reproduced supra at p.7) is heavily redacted. (Compl. ¶¶ 39-43.)
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 1   redacted email exchanges produced by Uber regarding the interrogatory responses include
 2   (who, again, was alerted to the 2016 Incident in real time),        (who Sullivan knew to have
 3   been an integral participant in Uber’s response to the incident), and                  , an Uber
 4   security engineer deeply involved in the response to the 2016 Incident and who (at Sullivan’s
 5   urging) was the individual who worked most closely with Uber’s Legal department in preparing
 6   Uber’s responses to the FTC. When reviewing the interrogatory responses, Sullivan did not need
 7   to inform these individuals of the 2016 Incident because the team preparing those responses was
 8   already well aware of it.
 9          With respect to Uber’s April 2017 letter to the FTC urging it to close its investigation,
10   redacted emails show that         and        also saw drafts of the letter, and that        (unlike
11   Sullivan) offered substantive comments on the letter. Thus, even the redacted documents
12   undermine the government’s contention that “[none] of the individuals responsible for drafting
13   the April 19 letter to the FTC had been made aware of the 2016 data breach.” (Compl. ¶ 43.)
14          Put simply, where the government asserts that Sullivan’s failure to make a particular
15   statement in an email reply constitutes evidence of a crime, the actual, unredacted content of the
16   email to which Sullivan was replying is obviously relevant—indeed, essential—as are the
17   communications by those within Uber who (unlike Sullivan) played a substantive role in
18   responding to the FTC. Subpoenaed materials falling into this category include the email threads
19   in December 2016 and April 2017 that are directly referenced in the Complaint, as well as a
20   series of email exchanges in late 2016 and early 2017 following Sullivan’s testimony to the FTC.
21   These email exchanges appear to provide critical context regarding the scope of the FTC’s
22   follow-up questions after Sullivan’s testimony and will likely shed light on why virtually all of
23   the Legal department’s interrogatory responses in this period—even those that on their face
24   responded to seemingly broader questions—were expressly limited to the 2014 Incident. This is
25   of critical importance where the government has alleged that Sullivan was obligated to suggest to
26   Uber’s counsel that it supplement these responses with details about a completely separate
27   incident, and that his failure to do so was criminal.
                                                                                 ANGELI LAW GROUP LLC
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                    4.      Evidence that        and Uber’s Privacy lawyers, not Sullivan, were
 1                          responsible for deciding whether a given incident was a reportable
                            data breach
 2
            The government alleges that Sullivan worked to conceal the 2016 Incident by resolving
 3
     the incident using Uber’s “bug bounty” program rather than treating it as a reportable data
 4
     breach. In fact, it was not Sullivan’s job to decide what to disclose to regulators or law
 5
     enforcement. This responsibility lay with        and the rest of the Privacy lawyers in Uber’s
 6
     Legal department. A number of redacted emails specified in the subpoena are relevant to
 7
     establish that division of responsibility. For example, the materials sought in the subpoena
 8
     include unredacted copies of:
 9
            •   an email thread with regarding a prior security incident in late
10              November 2016 (UBER-DISC-0033789);
11          •   an email discussion with        in 2017 regarding whether a team of hackers
                should be referred to the bug bounty program (UBER-DISC-0035903);
12
            •   the PCT, and other communications and documents capturing               advice
13              to Sullivan and the rest of the Security team with regard to the 2016 Incident
                (e.g., UBER-DATA-72473); and
14
            •   communications from         Sullivan, and others regarding the 2016 Incident
15              in connection with Uber’s 2017 investigation into the incident (e.g., UBER-
                DATA-00073599; UBER15_0049403).
16
                    5.      Documents demonstrating the full extent of what Sullivan and his
17                          team stated about the incident to Uber’s management and to internal
                            investigators in 2017 and/or demonstrating what Uber’s management
18                          team knew about the 2016 Incident before November 21, 2017
19          In September 2017, Sullivan sent Uber’s new CEO,                            , an email
20   providing “more details” of the 2016 Incident. The government contends that the summary
21   provided in this email contained “affirmative misrepresentations and misleading omissions of
22   fact,” which, it asserts, demonstrates Sullivan’s “ongoing intent to obstruct the FTC,” as well as
23   his consciousness of guilt. (Compl. ¶¶ 44–47.) Moreover, the Superseding Indictment charges
24   Sullivan with a wire fraud scheme based in part on this email, as well as a separate email sent on
25   September 25, 2017 to WilmerHale attorneys investigating the 2016 Incident. (Superseding
26   Indictment ¶ 10.)
27
                                                                                ANGELI LAW GROUP LLC
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 1          Documents sought in the subpoena will help rebut these assertions. Sullivan’s email to
 2                 —which began by making clear that Sullivan was providing “more details” of the
 3   incident (i.e., in addition to those he had already provided)—was never intended to be a
 4   comprehensive accounting of the 2016 Incident; Sullivan was well aware that Uber was
 5   conducting a wide-ranging investigation into the incident and that                   was briefed on
 6   the results of that investigation. Indeed, Sullivan sat for multiple interviews with WilmerHale
 7   during this very period (including at least one interview in August 2017, one in September 2017,
 8   and another in early October 2017) and revealed the very information the government now
 9   claims he withheld: that hackers had downloaded data and that Sullivan and his team worked to
10   ensure that this stolen data was deleted. Sullivan was aware that the members of his team
11   involved in the 2016 Incident response were being interviewed as well, and that they would
12   undoubtedly provide any additional technical details requested by Uber and the investigators.
13   Again, the government has never suggested that Sullivan instructed those individuals to lie or
14   withhold any information from the investigators.
15          Uber has selectively released the results of this investigation as necessary to support its
16   “change agent” narrative. But it has redacted or withheld altogether numerous documents—
17   including, most prominently, its notes and memoranda of its interviews with Sullivan from
18   August to October 2017—reflecting or referring to additional information about the 2016
19   Incident that Sullivan and his team provided to Uber’s new management or to the WilmerHale
20   investigators. That information is obviously critical to establish both Sullivan’s state of mind
21   when drafting the emails that the government claims to be materially false and/or misleading,
22   and what                  others in Uber management, and WilmerHale already knew (or could
23   be reasonably expected to know) when Sullivan sent those emails. Moreover, to the extent
24   Uber’s investigation uncovered facts that are inconsistent with its chosen narrative (e.g., that a
25   broad range of individuals within Uber were aware of the 2016 Incident, that                      had
26   been briefed on the details of the incident from sources other than Sullivan, or that Uber
27
                                                                                ANGELI LAW GROUP LLC
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 1   disclosed the incident for reasons other than the altruistic “change agent” motive that it
 2   espoused), those facts would similarly be critical to Sullivan’s defense.
 3          One less altruistic reason that Uber may have disclosed the incident is suggested by a
 4   number of the documents sought in this category: In the fall of 2017, Uber was in negotiations
 5   with SoftBank to sell a 15% stake of the company for more than $7 billion. In connection with
 6   this transaction, SoftBank—undoubtedly erring on the side of caution—informed Uber on
 7   November 3, 2017 that it would not go forward with the deal unless Uber publicly disclosed the
 8   2016 Incident. (UBER-DATA-00056193.) Although Uber’s plan for disclosing the 2016 Incident
 9   was “unclear” at that point (even though the company’s new CEO and other senior members of
10   management had been aware of it for months), Uber ultimately agreed to SoftBank’s demand,
11   and the companies drafted a detailed letter agreement outlining Uber’s disclosure obligations
12   regarding the 2016 Incident. Just a few weeks later, Uber publicly disclosed the 2016 Incident,
13   terminated Sullivan and         and proclaimed that its decision to disclose was driven by a new
14   commitment to “putting integrity at the core of every decision we make.” It is certainly relevant
15   whether new management at Uber initially agreed with            and the Legal department’s earlier
16   determination that the 2016 Incident did not require disclosure, but were forced to conclude
17   otherwise by SoftBank’s demand. Uber should be required to produce documents that shed light
18   on this important issue.
19          A number of the requested documents are relevant to this topic, including:
20          •   a September 25, 2017 email from Sullivan to WilmerHale attorney
                     in which, the Superseding Indictment alleges, Sullivan “falsely suggested
21              that the 2016 Data Breach was not, in fact, a data breach.” (Superseding
                Indictment ¶ 10.) As noted above, not only has       ’s question to Sullivan
22              been redacted in its entirety, so has more than half of Sullivan’s answer
                (UBER-DATA-00079500);
23
            •   internal Uber communications regarding the 2017 internal investigation,
24              particularly a lengthy thread among various Uber employees and WilmerHale
                attorneys in October 2017 that are redacted in their entirety (see, e.g., UBER-
25              DATA-00063547);
26          •   a series of email threads in October and November 2017 regarding the
                SoftBank transaction, and SoftBank’s insistence that Uber disclose the 2016
27
                                                                                ANGELI LAW GROUP LLC
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                Incident as a condition of launching its tender offer (see, e.g., UBER-DATA-
 1              00056193); and
 2          •   communications regarding the 2016 Incident in connection with a Russian
                joint venture known as “Project Maple Leaf” (see, e.g., UBER-DATA-
 3              00060801).11
 4                  6.      Uber’s Relevance Categories

 5          Uber argues that most of the requested documents fall within at least one of three
 6   categories that (it contends) could not possibly be relevant under Nixon: (1) emails that were not
 7   to or from Sullivan or documents that did not come from his purported “custodial file” (MTQ at
 8   5); (2) documents dated after November 21, 2017, the date Uber terminated Sullivan (MTQ at 5);
 9   and (3) documents that pre-date the 2016 Incident (MTQ at 5–6). Uber’s reading of Nixon’s
10   relevance prong, however, is far too narrow. Sullivan must merely show “a sufficient likelihood”
11   that the documents or information sought are “relevant to the offenses charged in the
12   indictment.” Nixon, 418 U.S. at 700. The requested documents, including those in Uber’s
13   identified categories, easily meet this standard.
14                          a.      Documents Not From Sullivan’s “Custodial File”

15          Uber contends that 497 of the requested documents are not relevant under Nixon because
16   “they are emails that were not sent to [Sullivan] or from him or are documents that did not come
17   from his custodial file.” (MTQ at 5.) This is wrong. In addition to the documents identified
18   above, there are numerous requested documents in this category that undermine the
19   government’s theory of the case. For example:
20          •   As described, the PCT was a contemporaneous memorialization of discussions
                and actions during the initial investigation of the 2016 Incident, including
21              real-time legal advice given about disclosure to affected persons and
                contacting law enforcement. Numerous versions of this document are
22              requested in the subpoena, as are similar contemporaneous notes that capture
                statements and actions of Sullivan and other key witnesses during the
23              investigation of the 2016 Incident. Given the allegations in the Superseding
                Indictment, it is hard to imagine more relevant documents, even if they did not
24              come from Sullivan’s “custodial file” or an email sent to/by him;
25

26
     11
       In addition, as noted above, Uber has not produced the notes and memoranda of Sullivan’s
     lengthy interviews with Uber between August and October 2017—which we believe to exist—in
27   any form, redacted or not.
                                                                               ANGELI LAW GROUP LLC
                                                                           121 S.W. Morrison Street, Suite 400
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            •   An email thread reflecting that      (a central figure in both the Legal
 1              department and Uber’s response to the FTC) was informed at the time of the
                2016 Incident that       was “leading for legal with the security team,” and
 2              many of the key facts underlying the 2016 Incident that the government
                alleges were hidden from the Legal department;
 3
            •   Even though Uber’s CEO, at least two Privacy lawyers from Uber’s Legal
 4              department (including the lead), and scores of others knew about the 2016
                Incident, the government contends Sullivan concealed the 2016 Incident from
 5              the FTC, law enforcement, and those at Uber who could have disclosed the
                2016 Incident to the government and Uber drivers. The discovery produced
 6              however, demonstrates that key witnesses who were equally familiar with and
                involved in the 2016 Incident worked more closely with Uber’s outside
 7              counsel than Sullivan in responding to the FTC’s inquiries, and that Sullivan
                knew that. Some of the documents requested that do not include Sullivan, and
 8              presumably did not come from his “custodial files,” are communications
                relating to FTC submissions involving individuals who were also intimately
 9              familiar with the 2016 Incident. Such documents clearly meet the Nixon
                relevance standard. See, e.g., UBER-DATA-00073431 (email between Uber
10              Privacy attorneys      ,        and             regarding December 2016
                submission to FTC); UBER-DATA-00072800 (email between                 and
11              regarding April 2017 submission to FTC); UBER-DATA-00079419 (Uber
                Chief Information Security Officer                     ’s email commenting on
12              January 2016 submission to FTC).
13   As these examples demonstrate, relevance does not depend on whether Sullivan appears on a
14   document or had it in his “custodial file.”
15                          b.      Documents Dated After Sullivan’s Termination

16          Uber insists that 225 of the requested documents are not relevant because they post-date
17   Sullivan’s termination in November 2017. But documents created after Sullivan’s termination
18   obviously can shed light on preceding events. For example, many of these documents are related
19   to the SoftBank tender offer and may concern SoftBank’s November 2017 demand that Uber
20   disclose the 2016 Incident as a condition of launching its tender offer, and the role this demand
21   had in Uber’s decision to disclose the incident to regulators and others. Some of the documents
22   appear to be communications regarding potential investigations from various regulatory bodies
23   following the November 2017 disclosure of the 2016 Incident. Some relate to Uber’s disclosure
24   of the 2016 Incident in connection with a Russian joint venture known as “Project Maple Leaf.”
25   These requested documents may all provide insight into what Uber learned about the 2016
26   Incident during its 2017 investigation, and when it learned it. Such information is clearly relevant
27   under Nixon to rebut the government’s allegation that Sullivan made material false statements
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 1   during that investigation.
 2                          c.      Documents That Pre-Date the 2016 Incident

 3          Uber maintains that 56 documents are not relevant under Nixon because they pre-date the
 4   2016 Incident. Again, Uber’s reading of relevance under Nixon is overly narrow, particularly
 5   because the government’s allegations arise in the context of Sullivan’s role in an FTC
 6   investigation that pre-dates the 2016 Incident. For example, the government alleges that Sullivan
 7   knew about the scope of the FTC investigation, knew of specific duties related to the 2014
 8   Incident, and actively participated in the response to the FTC investigation before the 2016
 9   Incident. (Superseding Indictment ¶¶ 2, 3, 8.) Some of the requested documents that pre-date the
10   2016 Incident provide information about Sullivan’s knowledge of the 2014 Incident, the FTC
11   investigation, the Legal department’s role in responding to the investigation, and the actions
12   Sullivan oversaw to correct security deficiencies following the 2014 Incident. (See, e.g., UBER-
13   DATA-00073330 (email dated June 2015 about the 2014 Incident and testimony needed)). Such
14   documents clearly meet the Nixon relevance standard.
15                                                    ***
16          As demonstrated above, the subpoena seeks documents that are directly relevant to
17   Sullivan’s defense. At a minimum, the circumstances of the communications and other
18   information in the requested documents, “taken in their total context, permit a rational inference
19   that at least part[s] of the [documents] relate to the offenses charged in the indictment.” Nixon,
20   418 U.S. at 700. Sullivan has satisfied the Nixon relevance requirement.
21          B.      The responsive documents are admissible.

22          Uber contends (MTQ at 6–7) that the documents sought in the subpoena constitute
23   inadmissible hearsay. (Uber also maintains that the documents are inadmissible because they are
24   privileged; we discuss that contention below.)
25          Many—perhaps most—of the documents at issue will be admissible as Uber business
26   records. Courts now routinely admit emails between a company’s employees about work-related
27   matters under Fed. R. Evid. 803(6), as long as an appropriate foundation is laid. See, e.g., United
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 1   States v. Lischewski, 860 Fed. App’x 512, 516 (9th Cir. 2021). Documents will also likely be
 2   admissible because they reflect present sense impressions (Fed. R. Evid. 803(1)), then-existing
 3   states of mind (Fed. R. Evid. 803(3)), or recorded recollections (Fed. R. Evid. 803(5)). Other
 4   documents will not be hearsay at all, because they may be offered for purposes other than
 5   proving the truth of the statements they contain. Fed. R. Evid. 801(c); see, e.g., United States v.
 6   Carrillo, 20 F.3d 617, 619 (5th Cir. 1994). For example, documents reflecting statements by
 7   Uber’s lawyers and other members of Uber’s management team and the team responding to the
 8   2016 Incident might be offered to show Sullivan’s state of mind and/or the effect the documents
 9   had on him. See, e.g., United States v. Greenspan, 923 F.3d 138, 148 (3d Cir. 2019) (“Greenspan
10   was not using the [lawyer’s] statements to show that the agreements were in fact lawful. He
11   wanted to use them to prove their effect on his state of mind—to explain why he believed that
12   they were lawful. So the lawyer’s advice was admissible non-hearsay.”); United States v. Scully,
13   877 F.3d 464, 474 (2d Cir. 2017) (lawyer’s statement to defendant non-hearsay, because not
14   offered for its truth); United States v. McLennan, 563 F.2d 943, 947 (9th Cir. 1977) (“Advice is
15   customarily given in words, and when advice is the question, the words which constitute the
16   advice are classic examples of verbal acts, admissible because they were spoken, whether true or
17   false. Such verbal acts are not hearsay. They come in to bring home notice to the defendant in a
18   case like this one.”); see also McDaniel v. Temple Indep. Sch. Dist., 770 F.2d 1340, 1349 (5th
19   Cir. 1985) (hearing transcript not hearsay when offered to show board of trustees’ motive and
20   intent in not renewing employment contract, rather than for the truth of the matters asserted).
21          Similarly, statements made to Uber’s Legal department by Sullivan, Uber management,
22   and the 2016 Incident response team are non-hearsay to the extent they are offered solely to
23   show what the lawyers knew, what Sullivan believed or intended, or the basis for the advice the
24   lawyers gave. See, e.g., United States v. Brown, 459 F.3d 509, 528 n.17 (5th Cir. 2006)
25   (defendant’s email admissible as non-hearsay under Rule 801(c) “to reveal [his] state of mind,
26   i.e., his belief that the side deal had been entered into and confirmed by Fastow”); United States
27   v. Harris, 733 F.2d 994, 1003–04 (2d Cir. 1984) (defendant’s out-of-court statements offered to
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 1   show his state of mind, and not for their truth, were non-hearsay); United States v. Parry, 649
 2   F.2d 292, 294–95 (5th Cir. 1981) (exclusion of defendant’s out-of-court statements erroneous
 3   because offered to prove his knowledge, rather than for the truth of the matters asserted);
 4   see also United States v. Connelly, 395 Fed. Appx. 407, 408 (9th Cir. 2010) (statement not
 5   hearsay where it was not offered for its truth, but rather to show the effect on the listener and
 6   explain why she took certain actions); United States v. Payne, 944 F.2d 1458, 1472 (9th Cir.
 7   1991) (“We find that the statement properly was treated as non-hearsay because it was not
 8   introduced for the truth of the matter asserted. The statement was introduced . . . to show the
 9   effect on the listener[.]”).
10           C.      The responsive documents are specifically identified.

11           The documents sought in the subpoena are specifically identified (the subpoena provides
12   the exact Bates numbers of the documents sought) and, as described above, relate to a particular
13   set of issues that go to the heart of Sullivan’s defense. Courts have enforced Rule 17(c)
14   subpoenas with far less specificity. See, e.g., United States v. Gas Pipe, Inc., No. 3:14-cr-298-M,
15   2018 WL 5262361, at *8–*17 (N.D. Tex. June 18, 2018) (Rule 17(c) subpoena for “[a]ny
16   documents” in several categories sufficiently specific); United States v. Carriles, 263 F.R.D.
17   400, 405 (W.D. Tex. 2009) (Rule 17(c) subpoena sufficiently specific where it “specifies a
18   limited set of original recordings, known to exist, of a specific content, involving known
19   participants during a delineated time frame.”); United States v. Caruso, 948 F. Supp. 382, 396,
20   398-99 (D.N.J. 1996) (enforcing Rule 17(c) subpoena for “[a]ll documents” in several
21   categories). Uber’s request for details about the substance of each document requested far
22   exceeds what Nixon requires. As this Court has observed (through Judge Breyer), “the proponent
23   of a subpoena cannot be expected to identify the materials he seeks in exacting detail, when (as
24   demonstrated by the fact that he must employ a subpoena) he does not have access to them.”
25   United States v. Reyes, 239 F.R.D. 591, 599 (N.D. Cal. 2006) (citing Nixon, 418 U.S. at 700).
26                                                  ****
27           The subpoena satisfies the Nixon requirements of relevance, admissibility, and specificity.
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     II.    Privilege cannot shield the requested documents from production.
 1
            For three reasons, Uber’s assertion of the attorney-client privilege and the attorney work-
 2
     product protection cannot shield the documents from production. First, as to at least some of the
 3
     documents, Uber has not established that the privilege covers the communications at issue.
 4
     Second, Uber has waived any privilege it had by selectively disclosing closely related privileged
 5
     communications to the government in the course of its effort to scapegoat Sullivan. Third,
 6
     Sullivan’s Fifth and Sixth Amendment right to present a defense overcomes any validly asserted,
 7
     non-waived privilege that Uber still possesses.
 8
            A.      Uber has failed to establish that all the documents are privileged.
 9
            The party asserting the attorney-client privilege “has the burden of establishing the
10
     relationship and privileged nature of the communication.” United States v. Richey, 632 F.3d 559,
11
     566 (9th Cir. 2011). The privilege protects confidential communications between lawyer and
12
     client for the purpose of obtaining legal advice and is designed to encourage “full and frank
13
     communication between attorneys and their clients and thereby promote broader public interests
14
     in the observance of law and the administration of justice.” Upjohn Co. v. United States, 449
15
     U.S. 383, 389 (1981). But the privilege “contravene[s] the fundamental principle that the public
16
     has a right to every man’s evidence.” Trammel v. United States, 445 U.S. 40, 50 (1980)
17
     (quotation omitted). “As such, [the privilege] must be strictly construed and accepted only to the
18
     very limited extent that permitting a refusal to testify or excluding relevant evidence has a public
19
     good transcending the normally predominant principle of utilizing all rational means for
20
     ascertaining truth.” Id. (quotation omitted); see, e.g., United States v. Martin, 278 F.3d 988, 999
21
     (9th Cir. 2002) (“Because it impedes full and free discovery of the truth, the attorney-client
22
     privilege is strictly construed.” (quotation omitted)).
23
            The Ninth Circuit has recognized that “[t]he attorney-client privilege may be divided into
24
     eight essential elements: (1) Where legal advice of any kind is sought (2) from a professional
25
     legal adviser in his capacity as such (3) the communication relating to that purpose, (4) made in
26
     confidence (5) by the client, (6) are at his instance permanently protected (7) from disclosure by
27
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 1   himself or by the legal adviser, (8) unless the protection is waived.” In re Grand Jury
 2   Investigation, 974 F.2d 1068, 1071 n.2 (9th Cir. 1992) (quotation omitted); see, e.g., United
 3   States v. Graf, 610 F.3d 1148, 1156 (9th Cir. 2010). “The party asserting the privilege [here,
 4   Uber] bears the burden of proving each essential element.” United States v. Ruehle, 583 F.3d
 5   600, 608 (9th Cir. 2009); see, e.g., Graf, 610 F.3d at 1156; Martin, 278 F.3d at 999–1000.
 6          Under these principles, Uber has failed to meet its burden of showing that many of the
 7   documents are privileged. A number of the emails and other communications do not include an
 8   attorney (element 1), were seemingly not created for the purpose of seeking or giving legal
 9   advice (elements 2 and 3), were sent to or received from third parties (including government
10   agencies and regulators) (element 8), or were widely shared within the company in the form of
11   “all hands” emails (elements 1, 2, 3, 4, and 8). Uber argues it has met its prima facie burden to
12   prove the requested documents are privileged because it complied with the standard articulated
13   in In re Grand Jury Investigation, 974 F.2d at 1071 (9th Cir. 1992). (MTQ at 8.) But that case
14   merely recognized that a party may meet its burden by using “the privilege log approach.” Id. To
15   serve that purpose, however, the log must suffice to establish the eight elements of the privilege.
16   For example, the subpoenaed party in In re Grand Jury submitted a detailed log with specific
17   information and declarations of counsel providing details about the confidential nature of the
18   requested documents. Id.
19          Uber has not provided a privilege log for the requested documents or a declaration of
20   counsel. Instead, it maintains that the requested documents provide sufficient information to
21   establish privilege “on their face.” (MTQ at 8–9.) It is doubtful that the face of a document can
22   ever establish, for example, that any privilege has not been waived (element 8). And even a
23   cursory review of the documents shows that they fail to establish other elements of the privilege
24   as well. Here are some examples:
25          •   Sullivan has subpoenaed numerous emails surrounding the 2017 SoftBank
                transaction, including emails where                (then the Co-Head of
26              Global Investment Banking at Goldman Sachs) was copied on the email.
                Although some of these communications include Uber attorneys from Cooley
27              LLP, Uber does not explain why its privilege has not been waived by the
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                inclusion of          on these emails. Indeed, some of Uber’s redactions are of
 1                      ’s statements (UBER-DATA-00056193), and at least one discussion
                among            Uber CEO                   and Uber Head of Corporate
 2              Development                        has been redacted by Uber despite not
                having any lawyers on the thread at all. (UBER-DATA-0069066.)
 3
            •   Uber has redacted the subject line of an email thread apparently related to the
 4              2016 Incident even though an attorney was not added to the thread until later
                in the discussion after at least five emails had already been exchanged among
 5              the other participants. (UBER-DATA-00060169.)
 6          •   Uber has redacted a communication between Sullivan and an external security
                consultant named                    . (UBER-DATA-00067210.) Although
 7              their exchange is later forwarded to Uber attorney                 , there
                appears to be no basis for redacting the initial exchange between Sullivan and
 8

 9          •   In November 2017, Uber’s VP of Communications drafted a statement for
                              regarding the 2016 Incident. Although Uber Chief Legal
10              Officer            is copied on the email, it is difficult to see from the face of
                the email how this draft public statement is covered by the attorney-client
11              privilege. (UBER-DATA-00069039.)
12          For three separate and independent reasons, Uber has similarly failed to establish that the
13   documents sought are protected by the work-product doctrine. First, the work-product doctrine is
14   a “qualified” privilege that protects “from discovery documents and tangible things prepared by
15   a party or his representative in anticipation of litigation.” Admiral Ins. Co. v. U.S. Dist. Ct., 881
16   F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ. P. 26(b)(3)); see also United States v.
17   Nobles, 422 U.S. 225, 237-38 (1975). Uber has not even identified which of the entirely withheld
18   documents it claims are work-product,12 much less established that they were prepared by Uber
19   or its lawyers in anticipation of litigation. Second, the work-product doctrine “limits its
20   protection to one who is a party (or a party’s representative) to the litigation in which discovery
21   is sought.” In re California Pub. Util. Comm’n, 892 F.2d 778, 781 (9th Cir. 1989). Uber’s claim
22   of work product as to Sullivan’s subpoena is inapplicable in this criminal case between the
23   government and Sullivan. Third, as discussed below, Uber has waived any work-product
24   protection that may have existed by selectively disclosing documents to the government and by
25   affirmatively putting the purportedly protected documents at issue in this case.
26   12
       By contrast, Uber does specify which of its redactions are based on privilege and which are
27   based on work-product.
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             B.      Uber waived its privilege regarding the 2016 Incident.
 1
             Uber has failed to establish that it did not waive any privilege or work-product protection
 2
     it held over the requested documents. Indeed, the record demonstrates overwhelmingly that Uber
 3
     did waive the privilege by selectively revealing otherwise privileged information regarding the
 4
     2016 Incident to the government and/or by affirmatively putting the protected information at
 5
     issue in this case.
 6
             Courts have long recognized that the attorney-client privilege may be waived “either
 7
     implicitly, by placing privileged matters in controversy, or explicitly, by turning over privileged
 8
     documents.” Gomez v. Vernon, 255 F.3d 1118, 1131 (9th Cir. 2001). The principal purpose of
 9
     the doctrine of waiver is “to protect against the unfairness that would result from a privilege
10
     holder selectively disclosing privileged communications to an adversary, revealing those that
11
     support the cause while claiming the shelter of the privilege to avoid disclosing those that are
12
     less favorable.” Tennenbaum v. Deloitte & Touche, 77 F.3d 337, 340–41 (9th Cir. 1996).
13
     Voluntarily disclosing privileged information to third parties, including to law enforcement, will
14
     generally destroy the privilege. In re Pacific Pictures Corp., 679 F.3d 1121, 1127–28 (9th Cir.
15
     2012); Hernandez v. Tanninen, 604 F.3d 1095, 1100 (9th Cir. 2010). Furthermore, parties
16
     “cannot be permitted to pick and choose” in their disclosure of protected communications,
17
     “waiving the privilege for some and resurrecting the claim of confidentiality to obstruct
18
     others.” Permian Corp. v. United States, 665 F.2d 1214, 1221 (D.C. Cir. 1981).13
19

20
     13
        See also Fed. R. Evid. 502(a) (waiver “extends to an undisclosed communication or
     information in a federal or state proceeding only if 1) the waiver is intentional; 2) the disclosed
21   and undisclosed communications or information concern the same subject matter; and 3) they
     ought in fairness to be considered together.”). As noted by the Rule 502 Advisory Committee,
22   subject matter waiver under these circumstances is required in order to “prevent a selective and
     misleading presentation of evidence to the disadvantage of the adversary.” Fed. R. Evid. 502(a)
23   Advisory Committee Note (2011). The Rule therefore “does not alter the substantive law
     regarding when a party's strategic use in litigation of otherwise privileged information obliges
24   that party to waive the privilege regarding other information concerning the same subject matter,
     so that the information being used can be fairly considered in context.” Id. In such situations,
25   “the party using an attorney-client communication to its advantage in the litigation has, in so
     doing, intentionally waived the privilege as to other communications concerning the same
26   subject matter, regardless of the circumstances in which the communication being so used was
     initially disclosed.” Id.
27
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 1          A few examples show that Uber deliberately revealed privileged information to the
 2   government related to the 2016 Incident and thus expressly waived the privilege:
 3          •   The PCT itself is marked “Attorney-Client Privileged & Confidential Work.
                Prod.,” and contains numerous redactions of legal advice given to Sullivan
 4              and the Security team by        . In this very document, however, Uber
                selectively revealed other privileged information to the government, including
 5              early discussions regarding what would need to be in any nondisclosure
                agreement between Uber and the hackers,           ’s advice that the Security
 6              team was permitted to log in to employee-owned GitHub accounts, and
                      ’s repeated advice that Uber did not have a data breach reporting
 7              obligation. (UBER-DATA-00072473.)
 8          •   An email chain, explicitly referenced in the Complaint, discussing a draft
                letter to the FTC in April 2017. (Compl. ¶ 37.). Although Sullivan and       ’s
 9              (privileged) comments to Uber’s attorneys regarding this letter were disclosed
                to the government, Uber withheld the comments of Uber attorney
10                    . (UBER-DATA-00072800.)
11          •   A September 25, 2017 email in which                   (a WilmerHale attorney
                investigating the 2016 Incident for Uber) asked Sullivan a question over
12              email. Uber has redacted not only      ’s question to Sullivan, but the majority
                of Sullivan’s response as well. What remains of Sullivan’s response is
13              referenced in the Superseding Indictment, which alleges that Sullivan “falsely
                suggested” in this email “that the 2016 Data Breach was not, in fact, a data
14              breach.” (Superseding Indictment ¶ 10.) This selection of Sullivan’s response
                to some undisclosed question from        is clearly privileged, again
15              demonstrating the highly selective nature of Uber’s redactions. (UBER-
                DATA-00079500.)
16
            •   During the government’s investigation, Uber insisted on having its attorneys
17              present for nearly every current and former Uber employee interviewed by the
                FBI, ostensibly to protect the company’s attorney-client privilege. The 302s
18              produced in discovery, however, reveal numerous instances where Uber
                permitted its employees to disclose otherwise privileged information to the
19              government in order to suit the company’s narrative. For example,
                        (Uber’s Security Communications Manager) repeatedly discussed her
20              conversations with         , including relaying to the government his legal
                advice that the 2016 Incident did not require disclosure as a “data breach.”
21              Similarly,                 (the head of Uber’s Security Response team during
                the 2016 Incident and the “Incident Coordinator” for the Incident itself)
22              disclosed having internal discussions with          about whether Uber was
                required to disclose the incident to law enforcement. Attorneys for Uber were
23              present for all of these interviews and permitted each witness to reveal
                otherwise privileged communications, apparently without objection.
24
            •   Uber disclosed multiple versions of a document entitled: “A/C Priv: Security
25              Incident – Extortion Attempt” created by        and shared with Uber
26

27
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                Privacy attorney       in order to seek legal advice from her about the
 1              developing situation. While the document contains some redactions, Uber
                permitted the disclosure of the majority of the document and communications
 2              surrounding it, even though it appears to have been created with the sole
                purpose of seeking legal advice from         and was followed by a discussion
 3              of who from Uber’s Legal department would take point on the response.
                (UBER-DATA-00072512, UBER-DATA-00060799, and UBER-DATA-
 4              00072824).
 5          •   In late April 2017, Sullivan sent a detailed email to Uber attorney
                      , including questions, comments, and recommendations for how Uber’s
 6              attorneys were going to approach the FTC settlement. Sullivan’s entire
                communication appears privileged. Uber, however, selectively held back the
 7              majority of the email by        to which Sullivan was responding. (UBER-
                DATA-00079496).
 8
            In addition to these express privilege waivers, Uber implicitly waived privilege because
 9
     “the party asserting the privilege [Uber] placed information protected by it in issue through some
10
     affirmative act for his own benefit, and to allow the privilege to protect against disclosure of
11
     such information would [be] manifestly unfair to the opposing party.” Hearn v. Rhay, 68 F.R.D.
12
     574, 581 (E.D. Wash. 1975). In making this determination, courts employ a three-pronged test:
13
     (1) whether the party is asserting the privilege as a result of some “affirmative act”; (2) whether,
14
     through that affirmative act, the asserting party put the protected information at issue by making
15
     it relevant to the case; and (3) whether application of the privilege would deny another party
16
     access to information vital to his defense. See United States v. Amlani, 169 F.3d 1189, 1194–95
17
     (9th Cir. 1999); see also In re Lidoderm Antitrust Litig., No. 14-md-02521-WHO, 2016 WL
18
     4191612, at *3 (N.D. Cal. Aug. 9, 2016). In this case, having lowered the privilege shield to
19
     establish its own narrative for—and gain favor with—the government (including during
20
     meetings in 2017 and 2018 where Uber’s counsel shared details of what the company had
21
     learned during an internal investigation over which it now claims privilege), Uber may not now
22
     raise it against Sullivan, who would be injured if the privilege were maintained. See
23
     Permian, 665 F.2d at 1221 (party may not “invoke the privilege as to communications whose
24
     confidentiality he has already compromised for his own benefit”).
25
            Similar waiver principles vitiate any work-product protection Uber may have had for the
26
     subpoenaed documents. The Ninth Circuit has held (1) that disclosure of work-product to an
27
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 1   adversary or potential adversary expressly waives the protection, and (2) that conduct toward an
 2   adversary or potential adversary inconsistent with maintaining the secrecy of work-product
 3   material constitutes an implied waiver. See United States v. Sanmina Corp., 968 F.3d 1107,
 4   1121, 1123-25 (9th Cir. 2020). Here, the United States was at least a potential adversary of Uber
 5   when the company made the disclosures outlined above; indeed, the “anticipated litigation” that
 6   underpins the work-product protection indisputably included potential litigation against the
 7   United States government, and the very purpose of the disclosures was to avoid prosecution of
 8   the company. Accordingly, under the principles recognized in Sanmina, Uber waived any work-
 9   product protection it held just as it waived the attorney-client privilege through its disclosures to
10   the United States Attorney’s Office and federal law enforcement.
11          C.      Sullivan’s Fifth and Sixth Amendment rights override any valid privilege or
                    work-product protection Uber still maintains in the requested documents.
12
            The Fifth Amendment’s Due Process Clause and the Sixth Amendment’s Compulsory
13
     Process Clause guarantee Sullivan a “meaningful opportunity to present a complete defense.”
14
     Holmes v. South Carolina, 547 U.S. 319, 324 (2006) (quotation omitted); see also Crane v.
15
     Kentucky, 476 U.S. 683, 690 (1986) (same). The Supreme Court has long recognized that “[f]ew
16
     rights are more fundamental than that of an accused to present witnesses in his own defense.”
17
     Chambers v. Mississippi, 410 U.S. 284, 302 (1973); see also Washington v. Texas, 388 U.S. 14,
18
     19 (1967) (“[T]he right to present a defense . . . is a fundamental element of due process of
19
     law.”). As the Ninth Circuit has observed, “[t]hese rules reflect the fact that individuals accused
20
     of criminal behavior should be permitted to present, within reason, the strongest case they are
21
     able to marshal in their defense.” United States v. Thomas, 32 F.3d 418, 421 (9th Cir. 1994).
22
            In Nixon, the Supreme Court addressed a conflict between the constitutional rights of due
23
     process and compulsory process and the President’s interest in maintaining the confidentiality of
24
     his communications with other Executive Branch officials through the assertion of executive
25
     privilege. The Court held that the constitutional guarantees must prevail: “We conclude that
26
     when the ground for asserting privilege as to subpoenaed materials sought for use in a criminal
27
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 1   trial is based only on the generalized interest in confidentiality, it cannot prevail over the
 2   fundamental demands of due process of law in the fair administration of criminal justice. The
 3   generalized assertion of privilege must yield to the demonstrated, specific need for evidence in a
 4   pending criminal trial.” Nixon, 418 U.S. at 713. Other courts have similarly recognized that
 5   common law privileges must frequently yield to competing criminal justice concerns. See, e.g.,
 6   New York Times Co. v. Gonzales, 459 F.3d 160, 170 (2d Cir. 2006) (government’s interest in
 7   maintaining secrecy of imminent asset freezes and searches was sufficient to overcome federal
 8   common law privilege); In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1141, 1150 (D.C.
 9   Cir. 2006) (federal common law privilege protecting reporters from disclosing confidential
10   sources to grand jury was overcome by special counsel’s interests in grand jury investigation); In
11   re Sealed Case, 121 F.3d 729, 757 (D.C. Cir. 1997) (claim of presidential privilege raised against
12   a grand jury subpoena may be overcome where the evidence is important to an ongoing grand
13   jury investigation and not available from another source). That is especially true where a
14   criminal defendant’s competing rights are at issue (as opposed to, for example, a grand jury’s
15   need for information). See generally United States v. Paul, No. CR19-0194JLR, 2020 WL
16   6544702, at *4 (W.D. Wash. Nov. 6, 2020).
17          As in Nixon, Uber’s “generalized interest” in the confidentiality of its communications
18   with, among, and regarding lawyers, on a discrete universe of topics, over a brief period in 2016-
19   2017, must yield to Sullivan’s “demonstrated, specific need for evidence” in his criminal trial.
20   That is particularly so in light of Uber’s repeated compromise of that confidentiality in its
21   dealings with the government.
22          The district court’s decision in United States v. W.R. Grace, 439 F. Supp. 2d 1125 (D.
23   Mont. 2006), is particularly instructive. W.R. Grace and several of its employees were charged
24   with environmental crimes. Some of the indicted employees sought to introduce W.R. Grace’s
25   privileged communications to establish an advice of counsel defense. W.R. Grace refused to
26   waive the privilege and sought to exclude the privileged communications from trial. After
27   examining cases from the Supreme Court and the courts of appeals, the district court declared
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 1   that “the nature and content of the privileged evidence must be weighed against the purposes
 2   served by the attorney-client privilege to determine whether any of the documents are of such
 3   value as to require Grace’s rights under the attorney-client privilege to yield to the individual
 4   Defendants’ Sixth Amendment right to present evidence.” Id. at 1142.14 The court concluded that
 5   although “Grace has asserted its legitimate interest in protecting its privileged communications
 6   unconditionally and in good faith,” the law nevertheless “requires that the privilege yield where
 7   its invocation is incompatible with a criminal defendant’s Sixth Amendment rights.” Id. at 1145.
 8          Following in camera review of the privileged materials, the W.R. Grace court concluded
 9   that some of those materials “may, depending on the proof at trial, be of such probative and
10   exculpatory value as to compel admission of the evidence over Defendant Grace’s objection as
11   the attorney-client privilege holder.” Id. at 1142. The court reserved its decision on the
12   admissibility of particular privileged documents until trial, “where the probative value of each bit
13   of evidence can be evaluated in the context of the government’s case and in light of what the
14   evidence shows.” Id.; see also United States v. Mix, No. CRIM.A. 12-171, 2012 WL 2420016
15   (E.D. La. June 26, 2012) (relying on W.R. Grace and concluding that indicted employee’s right
16   to present a defense may overcome employer’s attorney-client privilege).
17          The Court should employ a similar analysis here, by either conducting an in camera
18   review of the privileged documents subject to the subpoena and ordering Uber to produce those
19   that are sufficiently probative, or ordering the documents to be produced under an appropriate
20   protective order and permitting Sullivan to review and identify the documents he seeks to use at
21
     14
22      A case on which the W.R. Grace court relied—Murdoch v. Castro, 365 F.3d 699 (9th Cir.
     2004)—was later vacated by the en banc Ninth Circuit on other grounds. Murdoch v. Castro, 609
23   F.3d 983 (9th Cir. 2010) (en banc). Of the eleven en banc judges, five concluded that the Sixth
     Amendment right the appellant asserted to production of a letter protected by a witness’s
24
     attorney-client privilege was not “clearly established” by the Supreme Court, as required by the
25   Antiterrorism and Effective Death Penalty Act of 1996 for habeas review of a state court
     conviction; five dissenters would have held that appellant’s Sixth Amendment rights were
26   violated by the trial court’s refusal to order production of the letter; and a concurring judge found
     no Sixth Amendment issue presented, because the appellant’s counsel could have moved to
27   strike the witness’s testimony but chose not to.
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 1   trial.15 At that point, the Court could determine, on a document-by-document basis, which
 2   documents will be admitted over Uber’s claim of privilege.
 3          D.      The Court can take steps to preserve the confidentiality of any privileged
                    materials to the extent possible.
 4
            Although Sullivan’s Fifth and Sixth Amendment rights overcome any privilege or work-
 5
     product protection Uber holds with respect to the subpoenaed documents, that does not mean
 6
     Uber must entirely forfeit those protections. The Court can take several steps to protect the
 7
     confidentialty of any privileged materials. See generally Mix, 2012 WL 2420016, at *3–*4
 8
     (entering protective order governing potentially privileged third-party materials).
 9
            First, the Court can make clear in its order on the motion to quash that Uber has not
10
     waived or forfeited the privilege or the work-product protection merely by producing documents
11
     to Sullivan under the subpoena. See W.R. Grace, 439 F. Supp. 2d at 1145 (“In any instance in
12
     which privileged communications are admitted, the Court will make clear that the privilege is
13
     abrogated over Grace’s objection and that the compelled trial disclosure does not constitute a
14
     blanket waiver of Grace’s attorney-client or attorney work product privileges.”); Mix, 2012 WL
15
     2420016, at *3 (no waiver from use and disclosure of third-party’s privileged materials). Second,
16
     the Court can order that all documents produced under the subpoena must be handled according
17
     to the protective order the Court has previously entered to govern discovery materials. (See ECF
18
     No. 15.) If Uber seeks additional protections for materials the Court finds to be privileged, we
19
     will work cooperatively to reach agreement on an enhanced protective order to cover those
20
     materials. Third, the Court can order that any of the still-privileged subpoenaed documents
21
     introduced into evidence at trial will be placed under seal as soon as the trial has concluded. See
22
     W.R. Grace, 439 F. Supp. 2d at 1143 (“If some of Grace’s privileged communications are
23
     introduced at trial, the dissemination of the exhibits beyond their presentation to the jury can be
24
     discussed.”). And finally, the Court can order that any privileged or work-product documents
25

26
     15
       To the extent the privilege has been waived with respect to certain materials, the Court should
27   order Uber to produce those materials without having to undertake any such in camera process.
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 1   produced under the subpoena (and all copies of those documents) must be either destroyed or
 2   returned to Uber when the litigation (including any appeals) has concluded.
 3                                           CONCLUSION

 4          For the foregoing reasons, the Court should deny Uber’s motion to quash the subpoena
 5   Sullivan has served on the company.
 6

 7   DATED: January 6, 2022
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